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10                      UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12
     EVELYN STRACZYNSKI, on behalf of Case No.: '18CV0855 L        NLS
13   herself, and all others similarly situated,
14                                               CLASS ACTION
                          Plaintiff,
15                                               COMPLAINT FOR DAMAGES
16         v.                                    AND INJUNCTIVE RELIEF
                                                 PURSUANT TO THE
17                                               TELEPHONE CONSUMER
     CONTEXTLOGIC, INC., doing business PROTECTION ACT, 47 U.S.C. §§
18   as Wish.com,                                227 et seq.
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                       Defendant.              DEMAND FOR JURY TRIAL
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 1               CLASS ACTION COMPLAINT AND JURY DEMAND
 2         Evelyn Straczynski (“Plaintiff”) brings this Class Action Complaint for
 3   damages, injunctive relief, and any other available legal or equitable remedies,
 4   resulting from the illegal actions of ContextLogic, Inc. doing business as Wish.com
 5   (“Defendant” or “Wish.com”), in negligently and/or willfully contacting Plaintiff
 6   through text message calls on Plaintiff’s cellular telephone, in violation of the
 7   Telephone Consumer Protection Act, 47 U.S.C. § § 227 et seq. (“TCPA”), thereby
 8   invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as
 9   to her own acts and experiences and, as to all other matters, upon information and
10   belief, including investigation conducted by her attorneys.
11                              NATURE OF THE ACTION
12         1.     In a misguided effort to solicit business, Wish.com routinely contacts
13   potential customers through text messages with automatic telephone dialing
14   equipment. However, Wish.com regularly sends these text messages to cellular
15   telephone numbers, without consent, in violation of the TCPA.
16         2.     The TCPA strictly forbids nuisance text messages exactly like those
17   alleged in this Complaint – intrusive text messages to private cellular phones, placed
18   to numbers obtained without the prior express consent of the recipients.
19         3.     Defendant’s violations caused Plaintiff and members of the Class actual
20   harm, including aggravation, nuisance, and invasion of privacy that necessarily
21   accompanies the receipt of unsolicited text messages, as well as the violation of their
22   statutory rights.
23         4.     Plaintiff and members of the Class suffered a concrete injury in fact,
24   whether tangible or intangible, that is directly traceable to Defendant’s conduct, and
25   is likely to be redressed by a favorable decision in this action.
26         5.     Plaintiff seeks an injunction stopping Defendant from sending
27   unsolicited text messages, as well as an award of statutory damages under the TCPA,
28   together with costs and reasonable attorneys’ fees.

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 1                                JURISDICTION AND VENUE
 2          6.        This Court has federal question subject matter jurisdiction under 28
 3   U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act,
 4   47 U.S.C. § 227 et seq., a federal statute. Mims v. Arrow Financial Services, LLC,
 5   132 S.Ct. 740, 751-53 (2012). Jurisdiction is also proper under 28 U.S.C. §
 6   1332(d)(2) because Plaintiff seeks up to $1,500 in damages for each text messages
 7   in violation of the TCPA, which, when aggregated among a proposed class number
 8   in the tens of thousands, exceeds the $5,000,000 threshold for federal court
 9   jurisdiction. Further, Plaintiff alleges a national class, which will result in at least
10   one class member belonging to a different state than that of the Defendant, providing
11   jurisdiction under 28 U.S.C. § 1332(d)(2)(A). Therefore, both elements of diversity
12   jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”) are present, and
13   this Court has jurisdiction.
14          7.        The Court has personal jurisdiction over Defendant and venue is proper
15   in this District because Defendant transacts significant amounts of business within
16   this District.
17          8.        Personal jurisdiction over Defendant is also proper in this District
18   because Defendant, at all times herein mentioned, was doing business in the County
19   of San Diego, State of California, and a substantial part of the events giving rise to
20   the claim, mainly Plaintiff’s receipt of the offending text messages, occurred in this
21   jurisdiction.
22                                           PARTIES
23          9.        Plaintiff is, and at all times mentioned was, a resident of the State of
24   California, County of San Diego. She is, and at all times mentioned herein, was a
25   “person” as defined by 47 U.S.C. § 153 (39).
26          10.       Defendant is an internet marketing company incorporated in Delaware
27   that maintains its principal place of business at One Sansome Street, 40th Floor, San
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 1   Francisco, California 94104. Defendant is a “person” as defined by 47 U.S.C. § 153
 2   (39). Defendant operates several websites including Wish.com.
 3            11.   Plaintiff alleges that at all times relevant herein Defendant conducted
 4   business in the state of California and in the County of San Diego, and within this
 5   judicial district.
 6   THE TELEPHONE CONSUMERS PROTECTION ACT OF 1991 (“TCPA”)
 7                                   47 U.S.C. §§ 227 et seq.
 8            12.   In 1991, Congress enacted the Telephone Consumer Protection Act, 47
 9   U.S.C. § 227 (TCPA), 1 in response to a growing number of consumer complaints
10   regarding certain telemarketing practices.
11            13.   The TCPA regulates, among other things, the use of automated
12   telephone equipment, or “autodialers.” Specifically, the plain language of section
13   227(b)(1)(A)(iii) prohibits the use of autodialers to make any call to a wireless
14   number in the absence of an emergency or the prior express consent of the called
15   party. 2 As recognized by the Federal Communications Commission (“FCC”) and
16   the Court, a text message is a call under the TCPA. Satterfield v. Simon & Schuster,
17   Inc., 569 F.3d 946, 955 (9th Cir. 2009).
18            14.   According to findings by the Federal Communication Commission
19   (“FCC”), the agency Congress vested with authority to issue regulations
20   implementing the TCPA, such calls are prohibited because, as Congress found,
21   automated or prerecorded telephone calls are a greater nuisance and invasion of
22   privacy than live solicitation calls, and such calls can be costly and inconvenient.
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24
25   1
      Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394
26   (1991), codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the
27   Communications Act of 1934, 47 U.S.C. §§ 201 et seq.
     2
28       47 U.S.C. § 227(b)(1)(A)(iii).

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 1   The FCC also recognized that wireless customers are charged for incoming calls
 2   whether they pay in advance or after the minutes are used. 3
 3          15.    One of the most bulk advertising methods employed by companies
 4   today involves the use of “Short Message Services” (or “SMS”), which is a system
 5   that allows for transmission and receipt of short text messages to and from wireless
 6   telephones.
 7          16.    SMS text messages are directed to a wireless device through a
 8   telephone number assigned to the device.          When an SMS text message is
 9   successfully transmitted, the recipient’s wireless phone alerts the recipient that a
10   message has been received. Because wireless telephones are carried on their
11   owner’s person, SMS text message are received virtually anywhere in the world.
12          17.    Unlike   more     conventional     advertisements,    SMS      message
13   advertisements can actually cost their recipients money because wireless phone users
14   must pay their wireless service providers either for each text message they receive
15   or incur a usage allocation deduction to their text messaging or data plan, regardless
16   of whether the message is authorized.
17          18.    Moreover, the transmission of an unsolicited SMS text message to a
18   cellular device is distracting and aggravating to the recipient; intrudes upon the
19   recipient’s seclusion; wastes a quantifiable amount of available data on the
20   recipient’s cellular device, thereby reducing its data storage capacity; temporarily
21   reduces the available computing power and application processing speed on the
22   recipient’s device; diminishes the available battery power which shortens the battery
23   life; and requires expending a quantifiable amount of energy (electricity) to recoup
24   the battery power lost as a result of receiving such a message.
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27   3
      In Rules and Regulations Implementing the Telephone Consumer Protection Act of
28   1991, Report and Order, 18 FCC Rcd. 14014 (FCC July 3, 2003).

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 1          19.   As of October 16, 2013, express written consent is required to make
 2   any such telemarketing calls or text messages to the telephone of consumers. The
 3   express written consent must be signed and be sufficient to show the consumer
 4   received clear and conspicuous disclosure of the significance of providing consent
 5   and must further unambiguously agree to receive future phone calls. 4
 6          20.   On July 10, 2015 the FCC released a Declaratory Ruling wherein it was
 7   confirmed that even if a consumer originally did provide “prior express consent” that
 8   caller has a right to revoke consent, using any reasonable method, including orally
 9   or in writing.5 However, even before the FCC Order that consent to receive a text
10   message could be revoked, the Mobile Marketing Association declared in October
11   2012 in its U.S. Consumer Best Practices for Messaging that “[a] subscriber must
12   be able to stop participating and receiving messages from any program by sending
13   STOP to the short code used for that program…” and “… if the subscriber sent STOP
14   or STOP ALL to the short code, they are opted out of all programs they were enrolled
15   in on that short code.”
16          21.   The TCPA and its implementing rules make it unlawful for a person to
17   “make” or “initiate” a call that violates the Act. 47 U.S.C. § 227(b)(1)(A).
18                             FACTUAL ALLEGATIONS
19          22.   In an effort to gain business, generate revenue and promote product
20   sales, Defendant runs marketing campaigns by way of mass text message campaigns.
21   Defendant ran these marketing campaigns without the prior express written consent
22   of the text recipients as required by law. Further, Defendant continued to text
23
     4
24    In Rules and Regulations Implementing the Telephone Consumer Protection Act of
     1991, 27 F.C.C. Rcd. 1830, 1844 ¶ 33 (FCC Feb. 15, 2012); see also Satterfield v.
25   Simon & Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009); Gutierrez v. Barclays
26   Grp., 2011 WL 579238, at *2 (S.D. Cal. Feb. 9, 2011).
27   5
      In Rules and Regulations Implementing the Telephone Consumer Protection Act
28   of 1991, 30 F.C.C Rcd. 7996, 2015 WL 4387780 (FCC July 10, 2015); ACA Int'l v.
     Fed. Commc'ns Comm'n, 885 F.3d 687, 692 (D.C. Cir. 2018).
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 1   message those prospective customers even after he or she revoked consent from
 2   future contact.
 3         23.    Beginning no later than February of 2018, Plaintiff began receiving
 4   unsolicited text messages on her cellular telephone from Defendant.
 5          24. On February 5, 2018 at 10:13 a.m., Plaintiff received an unsolicited text
 6   message from the number 18443034989 which stated: “This Valentine’s Date grab
 7   something special for your love one. www.wish.com/x/d6e46a2”
 8          25. On February 14, 2018 at 7:23 p.m., Plaintiff received an unsolicited text
 9   message from the short code 89293 which stated: “This Valentine’s Day, look hot
10   w/new beauty, perfume & lingerie. www.wish.com/x/70deb3a”
11          26. On March 2, 2017 at 11:17 a.m., Plaintiff received an unsolicited text
12   message from the short code 89293 which stated: “Try something new. See the top
13   fashion trends for 2018! www.wish.com/x/7c11673”
14          27. On March 9, 2018 at 2:55 p.m., Plaintiff received an unsolicited text
15   message from the short code 89293 which stated: “Don’t get pinched. St. Patrick’s
16   day is just 2 weeks away. www.wish.com/x/18d4c42”
17          28. On March 17, 2018 at 7:49 p.m., Plaintiff received an unsolicited text
18   message from the short code 89293 which stated: “Time to fill up your baskets.
19   Easter is just around the corner. www.wish.com/x/ffe9d60”
20          29. On March 23, 2018 at 4:49 p.m., Plaintiff received an unsolicited text
21   message from the short code 89293 which stated: “All the travel gear you need for
22   spring break, inside. www.wish.com/x/50a17d2”
23          30. On April 7, 2018 at 10:58 a.m., Plaintiff received an unsolicited text
24   message from the short code 89293 which stated: “Major League Baseball season is
25   here. Get your gear. www.wish.com/x/a2cb6801”
26          31. The source of each of the SMS text messages sent by Defendant was
27   18443034989 or 89293. Both numbers belong to Defendant. The 89293 number is
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 1   an SMS short code leased by Defendant and used for operating Defendant’s text
 2   message marketing program.
 3            32. Because Plaintiff is alerted by her cellular device, by auditory or visual
 4   means, whenever she received an SMS text message, each unsolicited SMS text
 5   message that Defendant sent invaded Plaintiff’s privacy and intruded upon
 6   Plaintiff’s seclusion.
 7            33. Plaintiff also became distracted and aggravated as a result of receiving
 8   each of Defendant’s SMS text messages.
 9            34. Plaintiff is not alone in receiving these unsolicited text message
10   advertisements. In fact, numerous consumers have complained of receipt of similar
11   unsolicited text messages, stating they never provided their cellphone numbers to
12   the Defendant, or provided any permission, let alone prior express written consent,
13   to the Defendant to receives the offending text messages, and yet continued to
14   receive the text messages:
15              a. On March 23, 2018, Rhiannon wrote “I keep getting spam from Wish.
16                 I use Wish, but I’ve never given them my number, and nothing on their
17                 app shows them having my number.”
18              b. On March 9, 2018, Sierra wrote “wish.com keeps sending me messages
19                 about deals and how my order has been delivered. I made an account
20                 but NEVER ordered from them not have I ever given them my number.
21                 It’s getting ridiculously annoying.”
22   See http://shortcodes.org/uncategorized/89293-short-code/ (last visited on Mary 2,
23   2018).
24            35. These unsolicited text messages placed to Plaintiff’s wireless telephone
25   were placed via an “automatic telephone dialing system,” (“ATDS”) as defined by
26   47 U.S.C. § 227(a)(1) and as prohibited by 47 U.S.C. § 227(b)(1)(A), which has the
27   capacity to produce or store numbers randomly or sequentially, and to dial such
28   numbers, to place text message calls to Plaintiff’s cellular telephone and/or by using

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 1   “an artificial or prerecorded voice” system as prohibited by 47 U.S.C. §
 2   227(b)(1)(A).
 3         36.    The TCPA was intended to give individuals control over how and
 4   where they receive calls. When Defendant places the phone text messages to
 5   consumers without their consent, it fails to address or respect the limitations imposed
 6   by the TCPA. In doing so, it takes control away from the consumers and violates
 7   both the spirit and the letter of the TCPA.
 8         37.    These text messages constitute calls that were not for emergency
 9   purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
10         38.    Plaintiff never provided Defendant or its agents wither prior express
11   written consent as required under TCPA regulations to receive automated text
12   message advertisements pursuant to 47 U.S.C. § 227 (b)(1)(A) and/or had revoked
13   any alleged prior express consent.
14         39.    In addition to being a nuisance and an invasion of privacy, Defendant’s
15   unauthorized automated text messages consistently interfered with Plaintiff’s, and
16   other Class member’s use of their cellular telephones.
17         40.    These text messages by Defendant or its agents therefore violated 47
18   U.S.C. § 227(b)(1).
19         41.    Under the TCPA and pursuant to the FCC’s January 2008 Declaratory
20   Ruling, the burden is on Defendant to demonstrate that Plaintiff provided express
21   consent within the meaning of the statute.
22                             CLASS ACTION ALLEGATIONS
23         42.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
24   23(b)(2) and 23(b)(3) on behalf of herself and on behalf of and all others similarly
25   situated (“the Class”).
26         43.    Plaintiff represents, and is a member of the Class, consisting of all
27   persons in the United States and its Territories who were sent one or more text
28   message advertisements by Defendant of its agents on their cellular telephones,

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 1   through the use of any automatic telephone dialing system as set forth in 47 U.S.C.
 2   § 227(b)(1)(A)(3), without providing prior express written consent to receive such
 3   messages, within four years prior to the filing of Complaint through the date of final
 4   approval.
 5         44.    Defendant and its employees or agents are excluded from the Class.
 6   Plaintiff does not know the number of members in the Class, but believes the Class
 7   members number in the hundreds of thousands, if not more. Thus, this matter should
 8   be certified as a Class action to assist in the expeditious litigation of this matter.
 9         45.    Plaintiff and members of the Class were harmed by the acts of
10   Defendant in at least the following ways: Defendant, either directly or through its
11   agents, illegally contacted Plaintiff and the Class members via their cellular
12   telephones by using unsolicited text messages, thereby causing Plaintiff and the
13   Class members to incur certain cellular telephone charges or reduce cellular
14   telephone time for which Plaintiff and the Class members previously paid, and
15   invading the privacy of said Plaintiff and the Class members. Plaintiff and the Class
16   members were thereby damaged through Defendant’s unlawful actions.
17         46.    This suit seeks only statutory damages and injunctive relief on behalf
18   of the Class and it expressly is not intended to request any recovery for personal
19   injury and claims related thereto. Plaintiff reserves the right to expand the Class
20   definition to seek recovery on behalf of additional persons as warranted as facts are
21   learned in further investigation and discovery.
22         47.    The joinder of the Class members is impractical and the disposition of
23   their claims in the Class action will provide substantial benefits both to the parties
24   and to the Court. The Class can be identified through Defendant’s records or
25   Defendant’s agents’ records.
26         48.    There is a well-defined community of interest in the questions of law
27   and fact involved affecting the parties to be represented. The questions of law and
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 1   fact to the Class predominate over questions which may affect individual Class
 2   members, including the following:
 3               a. Whether, within the four years prior to the filing of this Complaint
 4                  through the date of final approval, Defendant or its agents sent text
 5                  message advertisements without the recipients’ prior express written
 6                  consent (other than a telephone call made for emergency purposes or
 7                  made with the prior express consent of the called party) to a Class
 8                  member using any automatic telephone dialing system or an artificial
 9                  or prerecorded voice system, to any telephone number assigned to a
10                  cellular telephone service;
11               b. Whether the equipment Defendant, or its agents, used to send the text
12                  messages in question was an automatic telephone dialing system as
13                  contemplated by the TCPA;
14               c. Whether Defendant, or its agents, systematically made text messages
15                  to persons who did not previously provide Defendant with their prior
16                  express written consent to receive such text messages;
17               d. Whether Plaintiff and the Class members were damaged thereby, and
18                  the extent of damages for such violation; and
19               e. Whether Defendant and its agents should be enjoined from engaging
20                  in such conduct in the future.
21         49.    As a person that received at least one unsolicited text message
22   advertisement to her cell phone without Plaintiff’s prior express written consent,
23   Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly and
24   adequately represent and protect the interests of the Class in that Plaintiff has no
25   interest antagonistic to any member of the Class.
26         50.    Plaintiff and the members of the Class have all suffered irreparable
27   harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
28   action, the Class will continue to face the potential for irreparable harm. In addition,

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 1   these violations of law will be allowed to proceed without remedy and Defendant
 2   will likely continue such illegal conduct. Because of the size of the individual Class
 3   member’s claims, few, if any, Class members could afford to individually seek legal
 4   redress for the wrongs complained of herein.
 5         51.    Plaintiff has retained counsel experienced in handling class action
 6   claims and claims involving violations of the Telephone Consumer Protection Act.
 7   Plaintiff and her counsel are committed to vigorously prosecuting this action on
 8   behalf of the other members of the Class and have the financial resources to do so.
 9         52.    A class action is a superior method for the fair and efficient adjudication
10   of this controversy because joinder of all parties is impracticable. Class-wide
11   damages are essential to induce Defendant to comply with federal law. The interest
12   of Class members in individually controlling the prosecution of separate claims
13   against Defendant is small because the maximum statutory damages in an individual
14   action for violation of privacy are minimal, especially given the burden and expense
15   of individual prosecution of the complex litigation necessitated by Defendant’s
16   actions. Thus, it would be virtually impossible for the individual members of the
17   Class to obtain effective relief from Defendant’s misconduct. Even if members of
18   the Class could sustain such individual litigation, it would still not be preferable to
19   a class action, because individual litigation would increase the delay and expense to
20   all parties due to the complex legal and factual controversies presented in this
21   Complaint. By contrast, a class action presents far fewer management difficulties
22   and provides the benefits of single adjudication, economy of scale, and
23   comprehensive supervision by a single Court. Economies of time, effort and expense
24   will be fostered and uniformity of decisions ensured by prosecuting Plaintiff’s
25   claims as a class action.
26         53.    Defendant has acted on grounds generally applicable to the Class,
27   thereby making appropriate final injunctive relief and corresponding declaratory
28   relief with respect to the Class as a whole.

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 1                                        COUNT 1
 2                        NEGLIGENT VIOLATIONS OF THE TCPA
 3                                 47 U.S.C. §§ 227 ET SEQ.
 4         54.    Plaintiff incorporates by reference all of the above paragraphs of this
 5   Complaint as though fully stated herein.
 6         55.    Defendant made unauthorized automated text message calls using an
 7   automatic telephone dialing system or prerecorded voice to the cellular telephone
 8   numbers of Plaintiff and other members of the Class without the prior express
 9   written consent.
10         56.    These text message calls were made en masse using equipment that,
11   upon information and belief, had the capacity to store or produce telephone numbers
12   to be called, using a random or sequential number generator, and to dial such
13   numbers. By using such equipment, Defendant was able to send thousands of text
14   messages simultaneously to thousands of consumers’ cellphones without human
15   intervention. These text messages are analogous to a prerecorded voice made
16   without the prior express consent of Plaintiff.
17         57.    The foregoing acts and omissions of Defendant and its agents constitute
18   numerous and multiple negligent violations of the TCPA, including but not limited
19   to each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
20         58.    As a result of Defendant’s, and Defendant’s agents’, negligent
21   violations of 47 U.S.C. § 227 et seq., Plaintiff and the Class are entitled to an award
22   of $500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
23   § 227(b)(3)(B).
24         59.    Plaintiff and the Class are also entitled to and seek injunctive relief
25   prohibiting such conduct in the future.
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 1                                        COUNT 2
 2                KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
 3                                47 U.S.C. §§ 227 ET SEQ.
 4          60.   Plaintiff incorporates by reference paragraphs 1-53 of this Complaint
 5   as though fully stated herein.
 6          61.   Defendant made unauthorized automated text message calls using an
 7   automatic telephone dialing system or prerecorded voice to the cellular telephone
 8   numbers of Plaintiff and other members of the Class without the prior express
 9   written consent.
10          62.   These text message calls were made en masse using equipment that,
11   upon information and belief, had the capacity to store or produce telephone numbers
12   to be called, using a random or sequential number generator, and to dial such
13   numbers. By using such equipment, Defendant was able to send thousands of text
14   messages simultaneously to thousands of consumers’ cellphones without human
15   intervention. These text messages are analogous to a prerecorded voice made
16   without the prior express consent of Plaintiff.
17          63.   The foregoing acts and omissions of Defendant constitutes numerous
18   and multiple knowing and/or willful violations of the TCPA, including but not
19   limited to each and every one of the above-cited provisions of 47 U.S.C. §§ 227 et
20   seq.
21          64.   As a result of Defendant’s knowing and/or willful violations of 47
22   U.S.C. § 227 et seq., Plaintiff and the Class are entitled to treble damages, as
23   provided by statute, up to $1,500.00, for each and every violation, pursuant to 47
24   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
25          65.   Plaintiff and the Class are also entitled to and seek injunctive relief
26   prohibiting such conduct in the future.
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 1                                PRAYER FOR RELIEF
 2         Wherefore, Plaintiff respectfully requests the Court to grant Plaintiff and the
 3   Class members the following relief against Defendant:
 4                FIRST COUNT FOR NEGLIGENT VIOLATION OF THE TCPA
 5                                47 U.S.C. §§ 227 ET SEQ.
 6         66.    As a result of Defendant’s, and Defendant’s agents’, negligent
 7   violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for herself and each Class
 8   member $500.00 in statutory damages, for each and every violation, pursuant to 47
 9   U.S.C. § 227(b)(3)(B).
10         67.    Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief
11   prohibiting such conduct in the future.
12     SECOND COUNT FOR KNOWING AND/OR WILLFUL VIOLATION OF THE TCPA
13                                47 U.S.C. §§ 227 ET SEQ.
14         68.    As a result of Defendant’s, and Defendant’s agents’, willful and/or
15   knowing violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for herself and each
16   Class member treble damages, as provided by statute, up to $1,500.00 for each and
17   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
18         69.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
19   conduct in the future.
20                                             ** *
21         70.    An order certifying the Class as defined above, appointing Plaintiff
22   Straczynski as a Class Representative, and appointing the Law Offices of Ronald A.
23   Marron as Class Counsel.
24         71.    An award of reasonable attorneys’ fees (in the event of a class recovery)
25   and costs.
26         72.    Any other relief the Court may deem reasonable, just and proper.
27                                     JURY DEMAND
28          Plaintiff hereby demands a trial by jury on all issues so triable.

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 1                                            ** *
 2                      DOCUMENT PRESERVATION DEMAND
 3         Plaintiff hereby demands that Defendant take affirmative steps to preserve all
 4   recordings, data, emails, documents and all other tangible things that relate to the
 5   allegations herein, Plaintiff or the putative class members, or the sending of text
 6   messages, the events described herein, any third party associated with any telephone
 7   call, campaign, account or file associated with Plaintiff. These materials are very
 8   likely relevant to the litigation of this claim. If Defendant is aware of any third party
 9   that has possession, custody or control of any such materials, Plaintiff demands that
10   Defendant request that such third party also take steps to preserve the materials, and
11   notify the undersigned of the circumstances immediately so that counsel may take
12   appropriate action. This demand shall not narrow the scope of any independent
13   document preservation duties of Defendant.
14
15   Dated: May 3, 2018                       s/ Ronald A. Marron
16                                            By: Ronald A. Marron
                                              ron@consumersadvocates.com
17                                            LAW OFFICES OF RONALD A.
18                                            MARRON
                                              RONALD A. MARRON
19                                            ALEXIS M. WOOD
20                                            KAS L. GALLUCCI
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24                                            Attorneys for Plaintiff
25                                            and the Proposed Class
26
27
28

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